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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW MEXICO

Alyssa Carton,                                               Case No.

        Plaintiff,

v.

Albertson's, LLC,

        Defendant(s),


                                           COMPLAINT


     Plaintiff, Alyssa Carton, hereby brings an action for declaratory judgment, injunctive relief,

attorneys’ fees and costs pursuant to the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et.

seq., and its implementing regulations (the, “ADA”).



                                    JURISDICTION AND VENUE

1. Defendant, owns and/or operates a place of Public Accommodation (“PPA”) as that term is

     defined in 42 U.S.C. § 12181(7) located at 2801 NE Eubank Blvd, Suite A, Albuquerque, NM

     87112.
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2. On the date of the visit to Defendant’s PPA, Plaintiff was, and is currently, a resident of the

   State of New Mexico.

3. Plaintiff travels throughout New Mexico including, in particular, the communities in and

   surrounding Albuquerque, New Mexico.

4. This action arises from a violation ADA Title III regulations. This Court has original jurisdiction

   pursuant to 28 U.S.C. §1331, 28 U.S.C. § 1343, and 42 U.S.C. § 12188.

5. Venue in this judicial district is proper under 28 U.S.C. § 1391(b) and (c) in that this is the

   judicial district in which a substantial part of the acts and omissions giving rise to the claims

   occurred.



                                             STANDING

6. Plaintiff seeks both retrospective declaratory relief (that Defendant has violated and

   continues to violate Title III of the ADA) and prospective injunctive relief all as more fully

   stated below.

7. Plaintiff has a disability which substantially limits major life activities. Plaintiff requires the

   use of a wheelchair. At the time of Plaintiff’s visit to Defendant’s PPA, Plaintiff qualified for

   and required reasonable accommodations to access and use the PPA.

8. Plaintiff personally visited Defendant’s PPA, but was denied full and equal access and full and

   equal enjoyment of the facilities, services, goods and amenities.




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9. Plaintiff is a customer of Defendant and visited Defendant’s PPA on January 30, 2017 to enjoy

      the goods and services offered at the PPA. Defendant offers goods and services at its PPA

      without restriction to members of the public who do not suffer from a physical disability.

10. Plaintiff will avail herself of the goods and services offered at the PPA in the future provided

      that Defendant modify the PPA to accommodate individuals with disabilities.

11. Completely independent of Plaintiff’s personal desire to access the PPA, Plaintiff also acted

      as a tester for purposes of discovering, encountering, and engaging discrimination against

      persons with disabilities at Defendant’s PPA.1 Plaintiff intends to visit the PPA regularly to

      verify compliance or non‐compliance with the ADA. In the instances referenced herein,

      Plaintiff, in her individual capacity and as a tester, visited the Premises, encountered barriers

      to access at the PPA, engaged and tested those barriers, suffered legal harm and legal injury

      and will continue to suffer harm and injury as a result of the illegal barriers to access and the

      violations of Defendant set forth herein. Without judicial intervention, Plaintiff will suffer a

      real and imminent threat of encountering Defendant’s accessibility barriers in the near

      future.

12. With respect to prospective relief, Plaintiff alleges that Plaintiff is suffering a continuing injury

      or is under a real and immediate threat of being injured in the future all as more fully

      developed below.




1
    Tandy v. City of Wichita, 380 F.3d 1277, 1285‐86 (10th Cir. 2004)


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13. Plaintiff avers that Plaintiff intends to visit Defendants’ PPA several times per year in the near

    future, but is deterred from doing so while Defendant’s PPA violates the ADA as detailed

    below.2

14. Plaintiff further avers that Plaintiff is deterred from visiting the Defendant’s PPA.3

15. Plaintiff further avers that any voluntary cessation of Defendant’s noncompliance with the

    ADA may be readily reversed by the reinstatement of the barriers to individuals with

    disabilities. Therefore, injunctive relief should be issued irrespective of Defendant’s potential

    voluntary cessation.4

                        THE ADA AND ITS IMPLEMENTING REGULATIONS

16. On July 26, 1990, President George H.W. Bush signed into law the ADA, a comprehensive civil

    rights law prohibiting discrimination on the basis of disability.

17. The ADA broadly protects the rights of individuals with disabilities in employment, access to

    State and local government services, places of public accommodation, transportation, and

    other important areas of American life.

18. Title III regulations prohibit discrimination in the activities of places of public accommodation

    and requires places of public accommodation to be readily accessible to, and independently

    usable by, individuals with disabilities. 42 U.S.C. § 12181‐89, 36 C.F.R. part 1191.



2
  Colo. Cross‐Disability Coal. v. Abercrombie & Fitch Co., 765 F.3d 1205 (10th Cir. 2014)
3
  Chapman v. Pier 1 Imports (U.S.) Inc., 631 F. 3d 939, 946 (9th Cir. 2011).
4
  Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 189, 120 S.Ct. 693, 145
L.Ed.2d 610 (2000): It is well settled that a defendant's voluntary cessation of a challenged
practice does not deprive a federal court of its power to determine the legality of the practice.
If it did, the courts would be compelled to leave the defendant free to return to his old ways.


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19. On July 26, 1991, the Department of Justice (“DOJ”) issued rules implementing Title III of the

   ADA, which are codified at 28 CFR Part 36.

20. Appendix A of the 1991 Title III regulations (republished as appendices B and D to 36 C.F.R.

   part 1191, and 28 C.F.R. part 36) contains the ADA standards for Accessible Design (1991

   Standards), which were based upon the Americans with Disabilities Act Accessibility

   Guidelines (1991 ADAAG) published by the Access Board on the same date.

21. In 1994, the Access Board began the process of updating the 1991 ADAAG by establishing a

   committee composed of members of the design and construction industries, the building

   code community, and State and local governmental entities, as well as individuals with

   disabilities.

22. In 1999, based largely on the report and recommendations of the advisory committee, the

   Access Board issued a notice of proposed rulemaking to update and revise its ADA and ABA

   Accessibility Guidelines.

23. The Access Board issued final publication of revisions to the 1991 ADAAG on July 23, 2004

   (“2004 ADAAG”).

24. On September 30, 2004, the DOJ issued an advanced notice of proposed rulemaking to begin

   the process of adopting the 2004 ADAAG.

25. On June 17, 2008, the DOJ published a notice of proposed rulemaking covering Title III of the

   ADA.

26. The long‐contemplated revisions to the 1991 ADAAG culminated with the DOJ’s issuance of

   The 2010 Standards for Accessible Design (“2010 Standards”). The DOJ published the Final



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      Rule detailing the 2010 Standards on September 15, 2010. The 2010 Standards consist of the

      2004 ADAAG and the requirements contained in appendices B and D to 36 C.F.R. part 1191,

      and subpart D of 28 C.F.R. part 36.

27. 42 U.S.C. § 12182(a) provides that “No individual shall be discriminated against on the basis

      of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

      advantages, or accommodations of any place of public accommodation by any person who

      owns, leases (or leases to), or operates a place of public accommodation.”

28. The ADA also provides a private right of action for preventative relief, including an application

      for a permanent or temporary injunction or restraining order for “any person who is being

      subjected to discrimination on the basis of disability in violation of Title III.” 28 C.F.R. § 36.501.

29. The duty of compliance with the ADA is not delegable.

                          FACTUAL ALLEGATIONS COMMON TO ALL COUNTS

30. On or about January 30, 2017, Plaintiff visited Defendant’s PPA.

31. Plaintiff was prevented from the full and equal enjoyment of the goods, services, facilities,

      privileges, advantages, or accommodations of Defendant’s PPA due to Defendant’s violation

      of the ADA and its accompanying Accessibility Guidelines5 and is discriminating against

      Plaintiff as a result of specific violations including but not limited to the following:




5
    See also 36 C.F.R. § Pt. 1191, App. A and D.


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      a. Failure to provide an unobstructed high forward reach to the towel dispenser no

      greater than 48 inches (1220 mm) over the sink, which measures less than 20 inches (510

      mm) deep, as required by 36 C.F.R Part 1191 Appendix D, Guideline 308.2 et seq..




32. Having been deterred from equal enjoyment of Defendant’s PPA, Plaintiff has not conducted

   a complete review of Defendant’s PPA; however, Plaintiff shall seek to amend the Complaint

   to allege additional ADA violations upon the completion of discovery and disclosure process.

   Since most barriers involve measurement of inches or degrees, to identify all architectural

   barriers requires a person to have unfettered access to a property with tools such as a tape

   measure, inclinator, and note pad. Plaintiff therefore requires an on‐site inspection including

   the entry on Defendant’s PPA to gather additional evidence pursuant to Rule 34 of the Federal

   Rules of Civil Procedure to provide a comprehensive list of all barriers which existed on or

   before the date of this Complaint.

33. Defendant has discriminated against Plaintiff and others in that it has failed to make its PPA

   fully accessible to, and independently usable by, individuals who are disabled in violation of

   the ADA.

34. Defendant has discriminated against Plaintiff in that it has failed to remove architectural

   barriers to make its PPA fully accessible to, and independently usable by individuals who are

   disabled.




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35. Defendant’s conduct is ongoing. Plaintiff invokes the statutory right to declaratory and

   injunctive relief, as well as costs, expenses and attorneys’ fees. 28 U.S.C. §2201, 2202, 28

   C.F.R. 36.501.

                          COUNT ONE: VIOLATION OF TITLE III OF ADA

36. Plaintiff adopts and re‐alleges the allegations stated in the preceding paragraphs as fully

   stated herein.

37. 42 U.S.C. § 12182(a) prohibits discrimination “on the basis of disability in the full and equal

   enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any

   place of public accommodation by any person who owns, leases (or lease to); or operates a

   place of public accommodation.”

38. 42 U.S.C. § 12188(a) provides for a private cause of action against such discrimination.

39. The mobility impairment at issue constitutes a disability under 42 U.S.C. § 12102.

40. Plaintiff was prevented from the full and equal enjoyment of the goods, services, facilities,

   privileges, advantages, or accommodations of Defendant’s PPA due to Defendant’s violation

   of the ADA and Defendant’s architectural barriers at its PPA constitute discrimination against

   Plaintiff.

41. Removal of the Defendant’s architectural barriers is readily achievable, or Defendant may

   make their facilities available through alternative methods that are readily achievable.

42. Defendant was required to make the PPA accessible to persons with disabilities. As of the

   dates discussed herein, Defendant has failed to comply with the mandates of the ADA.




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43. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff’s

    request for injunctive relief including an order to alter the PPA to make it readily accessible

    to, and useable by, individuals with disabilities to the extent required by the ADA, and closing

    the PPA until the requisite modifications are completed.

                                                RELIEF

44. With respect to prospective relief, Plaintiff alleges that Plaintiff is suffering a continuing injury

    or is under a real and immediate threat of being injured in the future all as more fully

    developed below.

45. Plaintiff avers that Plaintiff intends to visit Defendants’ PPA several times per year in the near

    future, but is deterred from doing so while Defendant’s PPA violates the ADA as detailed

    below.

46. Plaintiff further avers that Plaintiff is deterred from visiting the Defendant’s PPA.

47. Plaintiff further avers that any voluntary cessation of Defendant’s noncompliance with the

    ADA may be readily reversed by the reinstatement of the barriers to individuals with

    disabilities. Therefore, injunctive relief should be issued irrespective of Defendant’s potential

    voluntary cessation.



WHEREFORE, Plaintiff requests judgment against Defendant as follows

A. A declaration that Plaintiff has a federally protected right to the full and equal enjoyment of

    the goods, services, facilities, privileges, advantages, or accommodations of Defendant’s PPA,

    whether alleged in this Complaint or subsequently discovered; and



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B. A declaration that at the commencement of this action Defendant was in violation of the

    specific requirements of the ADA described above; and

C. Irrespective of Defendant’s “voluntary cessation,” if applicable, a preliminary and permanent

    injunction requiring Defendant to remove all barriers so that Plaintiff shall have the full and

    equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

    of Defendant’s PPA; and

D. An Order requiring Defendants to alter its PPA that is the subject of this Complaint to make

    the PPA accessible to and usable by individuals with disabilities to the full extent required by

    the ADA; and

E. An award of attorneys’ fees, including litigation expenses, and costs, pursuant to 42 U.S.C. §

    12205, 28 CFR § 36.505, and other principles of law and equity and in compliance with the

    “prevailing party” and “material alteration” of the parties’ relationship doctrines.

                                      DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

jury trial on issues triable by a jury.




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      RESPECTFULLY SUBMITTED this March 7, 2017.

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